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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO
Judge William J. Martinez

Civil Action No. 09-cv-00858-WJM-MEH

EBONIE SANTOS, a child, by her mother and next friend, MARY SANTOS,

Plaintiff,
v.
_ PUEBLO SCHOOL DISTRICT 60,
Defendant.

VERDICT FORM

We the jury, upon our oath, are all agreed upon the following answers to the
Court’s questions:

Question 1:

Has the Plaintiff, Ebonie Santos, proven by a preponderance of the evidence
that Defendant Pueblo School District 60 excluded her from participation in, or denied
her the benefit of, its services, programs, or activities, or that Defendant otherwise

discriminated against her because of her disability?

Yes / No

If Yes, proceed to Question 2. If No, skip the remaining questions and sign and date
the form.

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Question 2:

Has Plaintiff proven by a preponderance of the evidence that Defendant

intentionally discriminated against her because of her disability?

Yes Y No

if Yes, proceed to Question 3. If No, skip the remaining question and sign and date the
form.

Question 3:

State the amount of damages that you determine Plaintiff has proven to have

been caused by Defendant's conduct:

¢_ 2, 200,000

The Foreperson should sign and date this Verdict Form, and notify the Bailiff that
you have reached a verdict.

LOY

Foreperson Date

